                      UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION

 In the Matter of:                                 }
 SIMPLICITY CATERERS                               }    CASE NO. 19-81227-CRJ-11
 SSN: XX-XXX0065                                   }
                                                   }    CHAPTER 11
                        Debtors                    }

                           ORDER DISMISSING CHAPTER 11 CASE

        On April 19, 2019, Simplicity Caterers filed a Petition under Chapter 11 of the Bankruptcy

 Code on its own behalf without an attorney. Stephanie Lanier (“Lanier”) signed the Chapter 11

 Petition as the owner of the Debtor. In response to Question 6 of the Petition, Lanier indicated

 that Simplicity Caterers is a corporation.

        A Chapter 11 petition filed by the owner of a corporation without legal counsel is a legal

 nullity because a corporation cannot file for relief under the Bankruptcy Code and proceed pro se.

 In re Encore Prop. Management of Western New York, LLC, 2017 WL 6459356 *1 (Bankr.

 W.D.N.Y. 2017)(explaining that a corporation cannot commence a proceeding pro se). “The rule

 is well established that a corporation is an artificial entity that can act only through agents, cannot

 appear pro se, and must be represented by counsel.” Palazzo v. Gulf Oil Corp., 764 F.2d 1381,

 1385 (11th Cir. 1985); See also Wolfe v. Rodriguez (In re Rodriguez), 633 Fed. Appx. 524, 526

 (11th Cir. 2015)(explaining “a corporation cannot appear pro se in litigation and must be

 represented by counsel because it is an artificial entity only able to act through its agents”).

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED, pursuant to 11

 U.S.C. § 1112(b), that this case is hereby DISMISSED sua sponte for cause.

 Dated this the 22nd day of April, 2019.
                                                        /s/ Clifton R. Jessup, Jr.
                                                        Clifton R. Jessup, Jr.
                                                        United States Bankruptcy Judge




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